                                                        Electronically Filed
                                                        Supreme Court
                                                        SCOT-12-0001067
                                                        17-DEC-2012
                                                        12:34 PM


                          SCOT-12-0001067

           IN THE SUPREME COURT OF THE STATE OF HAWAI#I


           JANICE K.M. CHUNG KELI#IHANANUI, Plaintiff,

                                   vs.

   TIMES SUPERMARKET MGR. CURTIS HASUIKE, ZIPPY'S RESTAURANT
  MGR. JANE DOE, and KAHALA MALL SECURITY CHIEF(S), Defendants.



                        ORIGINAL PROCEEDING

                               ORDER
(By: Recktenwald, C.J., Nakayama, Acoba, McKenna, and Pollack, JJ.)

          Upon review of the complaint (Docket 1) and supporting
documents (Docket 2), filed in the supreme court by plaintiff
Janice K.M. Chung Keli#ihananui on December 7, 2012, it appears
that we lack jurisdiction to consider the complaint.     See HRS §
602-5 (Supp. 2011).   Therefore,
          IT IS HEREBY ORDERED that the complaint is dismissed.
          DATED:   Honolulu, Hawai#i, December 17, 2012.
                               /s/ Mark E. Recktenwald
                               /s/ Paula A. Nakayama
                               /s/ Simeon R. Acoba, Jr.
                               /s/ Sabrina S. McKenna
                               /s/ Richard W. Pollack
